Case 0:17-cv-60426-UU Document 212-92 Entered on FLSD Docket 09/21/2018 Page 1 of 5




                            Exhibit 90
Case 0:17-cv-60426-UU Document 212-92 Entered on FLSD Docket 09/21/2018 Page 2 of 5
Case 0:17-cv-60426-UU Document 212-92 Entered on FLSD Docket 09/21/2018 Page 3 of 5
Case 0:17-cv-60426-UU Document 212-92 Entered on FLSD Docket 09/21/2018 Page 4 of 5
Case 0:17-cv-60426-UU Document 212-92 Entered on FLSD Docket 09/21/2018 Page 5 of 5
